Case 8:20-cr-00033-TDC Document 59-1 Filed 03/02/20 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
*
v. ¥ CRIMINAL NO. TDC-20-33

*

WILLIAM GARFIELD BILBROUGH me
IV, *
*

Defendant *

KRRRKRKEEE

PR SED ORDER

The Court is in receipt of the Government’s Motion to Seal the Government’s Opposition
to Motion to Reopen Detention Hearing. For the reasons stated in the Government's motion,

which the Court adopts as its findings, the Court grants the motion.

Mwy

Hon. Timothy J. Sullivan
United States Magistrate Judge
